Case 1:16-cv-00853-MSG Document 488 Filed 09/23/19 Page 1 of 2 PageID #: 7056



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



AMGEN INC.,

               Plaintiff,

       v.                                          Civil Action No. 1:16-cv-882 (MSG)
                                                   Civil Action No. 1:16-cv-853 (MSG)
SUN PHARMACEUTICAL INDUSTRIES,                     CONSOLIDATED
LTD; SUN PHARMA GLOBAL FZE; AND
SUN PHARMACEUTICAL INDUSTRIES,
INC.,

               Defendants.


                                STIPULATION AND ORDER

       WHEREAS pursuant to the Court’s Order, dated September 19, 2019 (D.I. 487), Plaintiff

Amgen Inc. (“Amgen”) and Defendants Sun Pharmaceutical Industries Ltd., Sun Pharma Global

FZE and Sun Pharmaceutical Industries, Inc. (collectively, “Sun”) agree that the following sealed

documents may be unsealed in their entirety:

       1.      Sun’s Opening Brief in Support of Its Motion to Enforce the Parties’
               Settlement Agreement (D.I. 437);

       2.      Amgen’s Answering Brief in Opposition to Sun’s Motion to Enforce the
               Parties’ Settlement Agreement (D.I. 455); and,

       3.      Sun’s Reply in Support of Its Motion to Enforce the Settlement Agreement
               (D.I. 465).


       IT IS HEREBY AGREED by and between the parties, subject to the approval of the

Court, that the sealed documents (D.I. 437, 455 and 465) shall be unsealed by order of this Court.
Case 1:16-cv-00853-MSG Document 488 Filed 09/23/19 Page 2 of 2 PageID #: 7057



 MORRIS, NICHOLS, ARSHT &                    HEYMAN ENERIO
 TUNNELL LLP                                 GATTUSO & HIRZEL LLP

 /s/_Jack B. Blumenfeld________________      /s/ Dominick T. Gattuso
 Jack B. Blumenfeld (#1014)                  Dominick T. Gattuso (#3630)
 Derek J. Fahnestock (#4705)                 300 Delaware Avenue, Suite 200
 1201 North Market Street                    Wilmington, DE 19801
 P.O. Box 1347                               (302) 472-7300
 Wilmington, DE 19899                        dgattuso@hegh.law
 (302) 658-9200
 jblumenfeld@mnat.com
 dfahnestock@mnat.com                        Attorneys for Defendants Sun
                                             Pharmaceutical Industries Ltd., Sun Pharma
 Attorneys for Plaintiff Amgen Inc.          Global FZE and Sun Pharmaceutical
                                             Industries, Inc.



Dated: September 23, 2019




IT IS SO ORDERED, this _____ day of ______________, 2019.




                                          ________________________________________
                                          UNITED STATES DISTRICT JUDGE
